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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  THE PROTECT DEMOCRACY PROJECT,
  INC.,

                         Plaintiff,

                  v.                                       Civil Action No. 20-172 (RC)


  U.S. DEPARTMENT OF JUSTICE, U.S.
  DEPARTMENT OF DEFENSE, U.S.
  DEPARTMENT OF STATE,

                         Defendants.



          JOINT STATUS REPORT AND PARTIAL PROPOSED SCHEDULES

       Pursuant to the Order dated March 16, 2020, Plaintiff The Protect Democracy Project,

Inc. and Defendants U.S. Department of Justice (“DOJ”), U.S. Department of Defense (“DOD”),

and U.S. Department of State (“State”) hereby submit this Joint Status Report, along with the

Parties’ partial proposed schedules to govern this case.

       Plaintiff’s Position on the OLC Memorandum:

       Earlier today, in compliance with the Order dated March 12, 2020, DOJ subcomponent

the Office of Legal Counsel (“OLC”) filed notice that “OLC possesses a legal memorandum

meeting the description of Plaintiff’s FOIA request[,]” and that “OLC will include the document

in its processing of Plaintiff’s request.” Dkt. 25. OLC has been aware of Plaintiff’s specific

request for immediate processing of that memorandum since Plaintiff moved for a preliminary

injunction a month ago on February 19, 2020, see Dkt. 14 at 1, and has had a full week to

conduct review and interagency consultation since the Court ordered the fact of its existence
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revealed. Considering the ample time OLC has had to process the memorandum, as well as the

relevance of Plaintiff’s request to pending war powers legislation and the recent escalation of

conflict with Iran, see Dkt. 24, Plaintiff submits that OLC should be required to produce non-

exempt portions of the memorandum no later than March 23, 2020.

       Defendants’ Position on the OLC Memorandum:

       OLC will process the OLC memorandum by April 6, 2020. The OLC memorandum is a

privileged, deliberative legal advice document with equities from across the government. OLC

needs time to consider whether to release this document, either in full or in part, apply

appropriate redactions, if necessary, and consult multiple other entities, all of which are currently

dealing with significant disruptions to government operations due to the COVID-19 pandemic.

       The Parties’ Position on Other Potentially Responsive Documents:

       As to other potentially responsive documents, the Parties are engaged in productive, good

faith discussions regarding potential narrowing and prioritization of Plaintiff’s request, as well as

a reasonable timetable for processing documents. At the moment, the agencies’ FOIA offices are

restricted in their ability to review documents stored on classified servers due to the ongoing

pandemic, complicating any determination of a reasonable timetable for production. The Parties

are discussing what can be done in the meantime, including prioritization for the time being of

documents stored on unclassified servers. The Parties propose to file another joint status report

updating the Court on the status of these discussions by March 27, 2020.



Dated: March 19, 2020                         Respectfully submitted,

                                              THE PROTECT DEMOCRACY PROJECT, INC.

                                           By: /s/ Anne H. Tindall



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